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                                                                       EXHIBIT
                                                                               1
               IN THE UNITED STATE DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION




Melanie Hogan Sluder and                       )
Ricky Shawn Curtis, Individually               )
and as Independent Administrators              )
of the Estate of Alexis Marie Sluder,          )
Deceased,                                      )
                                               )
       Plaintiffs,                             )      Case No.
                                               )      4:24-cv-00181-WMR
v.                                             )
                                               )
Rebecka Phillips, Maveis Brooks,               )
Russell Ballard, David McKinney,               )
Monica Headrick, Sharon Ellis,                 )
                                               )
       Defendants.                             )


________________________________________________________________________

                     FIRST AMENDED COMPLAINT AT LAW

       For their Complaint at Law, Plaintiffs Melanie Hogan Sluder and

Ricky Shawn Curtis, in their personal capacity and as administrators of the

Estate of Alexis Marie Sluder, by and through their attorneys, Romanucci

and Blandin, LLC, and The Boone Firm, P.C., state as follows:




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                               INTRODUCTION

1.     In the late hours of August 26, 2022, five Defendant correctional

       employees and one sheriff’s department sergeant learned that sixteen-

       year-old Alexis Sluder had taken dangerous substances and chose to

       place Alexis at the Elbert Shaw Regional Youth Detention Center

       instead of transferring her to a medical facility or calling 9-1-1.

2.     Shortly after entering the facility, Alexis experienced a painful

       overdose lasting over four hours, during which she convulsed, writhed

       in pain, breathed heavily, sweated profusely, and cried to the camera

       surveilling her, “Someone please help me. I took something.”

3.     Defendants were aware that Alexis was in pain and suffering a medical

       emergency but chose not to transport her to a medical facility, call an

       emergency medical service like 9-1-1, nor take any other reasonable

       measures to provide her access to necessary medical services.

4.     Defendants Phillips, Brooks, and Ballard physically watched Alexis

       Sluder convulse, writhe in pain, sweat profusely, breathe heavily, and

       cry for over four hours, but chose not to transport her to a medical

       facility, call an emergency medical service like 9-1-1, nor take any other

       reasonable measures to provide her access to necessary medical

       services.


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5.      Defendants McKinney and Headrick were also made aware that Alexis

        Sluder had ingested dangerous substances and was suffering a medical

        emergency multiple times over the course of several hours but chose

        not to transport her to a medical facility, call an emergency medical

        service like 9-1-1, nor take any other reasonable measures to provide

        her access to necessary medical services.

6.      Defendant Ellis, a Gilmer County sergeant, was made aware that

        Alexis Sluder had ingested dangerous substances and was experiencing

        a medical emergency but refused to transport her when requested.

7.      Gilmer County had an unconstitutional policy of precluding officers

        from transporting individuals from the RYDC even when such

        transport was necessary for the safety of the individual.

8.      No one responded to Alexis Sluder’s medical emergency until after she

        had already fallen unconscious.

9.      Efforts to resuscitate Alexis Sluder failed, and she was pronounced

        dead on August 27, 2022, less than a month before her seventeenth

        birthday.

10.     At all times relevant, Alexis Sluder was confined in correctional

        custody where she could not take measures of her own to procure

        medical treatment, and thus was at the mercy of Defendants’ judgment.


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11.     At all times relevant, Defendants had a duty to take reasonable

        measures to ensure the safety of Alexis Sluder.

12.     At all times relevant, Defendants knew that, without close monitoring

        and immediate medical treatment, the dangerous substances that

        Alexis Sluder had ingested posed a substantial risk of serious harm.

13.     Defendants knew that Alexis was suffering serious physical symptoms

        indicative of a medical emergency and that he condition posed a

        substantial risk of serious harm if she did not receive immediate

        medical treatment.

14.     Defendants disregarded that risk by failing to take reasonable

        measures such as transferring her to a medical facility, calling 9-1-1 or

        another means of emergency medical treatment or transportation, or

        monitoring her closely while she was in the facility.


                                JURISDICTION

15.     This Court has jurisdiction over federal questions pursuant to 28

        U.S.C. §§ 1331, 1343, and 42 U.S.C. §§ 1983, 1988.

16.     Venue is proper in the Northern District of Georgia under 28 U.S.C.

        §1391(b) because all activities, incidents, events, and occurrences

        giving rise to this cause action occurred in County of Whitfield, City of

        Dalton, State of Georgia.


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17.     Upon information and belief, Rebecka Phillips resides in County of

        Murray, City of Chatsworth, State of Georgia.

18.     Upon information and belief, Maveis Brooks resides in County of

        Gordon, City of Calhoun, State of Georgia.

19.     Upon information and belief, Russell Ballard resides in County of

        Murray, City of Chatsworth, State of Georgia.

20.     Upon information and belief, David McKinney resides in County of

        Floyd, City of Rome, State of Georgia.

21.     Upon information and belief, Monica Headrick resides in County of

        Catoosa, City of Ringgold, State of Georgia.

22.     Upon information and belief, Sharon Ellis resides in County of Gilmer,

        State of Georgia.


                                    PARTIES

23.     At all times relevant, Defendant Sergeant Maveis Brooks was an

        employee and agent of the State of Georgia and acted within the scope

        of her employment. She is sued in her individual capacity.

24.     At all times relevant, Defendant Officer Rebecka Phillips was an

        employee and agent of the State of Georgia and acted within the scope

        of her employment. She is sued in her individual capacity.




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25.     At all times relevant, Defendant Nurse Monica Headrick was an

        employee and agent of both Augusta College and the State of Georgia.

        She acted within the scope of her employment. She is sued in her

        individual capacity.

26.     At all times relevant, Defendant David McKinney was an employee and

        agent of the State of Georgia and acted within the scope of his

        employment. He was the Facility Director of the Elbert Shaw Regional

        Youth Detention Center (“the RYDC”). He is sued in his individual

        capacity.

27.     At all times relevant, Defendant Cadet Russell Ballard was an

        employee and agent of the State of Georgia and acted within the scope

        of his employment. He is sued in his individual capacity.

28.     At all times relevant, Defendant Sergeant Sharon Ellis was an

        employee and agent of Gilmer County. She is sued in her individual

        capacity.

29.     At all times relevant, the State of Georgia contracted with Augusta

        University to delegate to Augusta College all or part of the State of

        Georgia’s responsibility to provide medical and mental health services

        to juvenile detainees at the Elbert Shaw Regional Detention Center

        (“the RYDC”).


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30.     At all times relevant, Augusta University was a public university and

        medical center owned, managed, administered, governed, and funded

        by the State of Georgia.

31.     At all times relevant, the Department of Juvenile Justice was an

        agency created, operated, managed, supervised, controlled, and

        administered by the State of Georgia.

32.     The Department of Juvenile Justice is the exclusive state agency for

        developing and administering a comprehensive state plan and program

        for child welfare and youth services.

33.     At all times relevant, the Elbert Shaw Regional Youth Detention

        Center (“the RYDC”) was operated, managed, supervised, controlled,

        and administered by the State of Georgia.


                     FACTS COMMON TO ALL COUNTS

34.     On August 26, 2022, Alexis Sluder was arrested by the Deputy Kevin

        Potts of the Union County Sheriff’s Office at 2257 Highway 515 W,

        Blairsville, Georgia for “Possession of Methamphetamine,” “Possession

        of Drug Related Objects,” and “Theft by Shoplifting.”

35.     Alexis Sluder received a ticket for Possession of Methamphetamine

        before being booked in any correctional facility.




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36.     During the initial arrest, Deputy Potts handcuffed Alexis Sluder,

        placed her in the back of a police vehicle, transported her to the Union

        County Jail, and placed her in a holding cell.

37.     Gilmer County Sheriff’s Office Sergeant Sharon Ellis arrived at the

        Union County Jail to transport Alexis Sluder to the Elbert Shaw

        Regional Youth Detention Center (“the RYDC”).

38.     During the transport from the Union County Jail to the RYDC, Alexis

        Sluder sat in an unusual position, crouched over with her knees up to

        her ears.

39.     During the transport, Sergeant Sharon Ellis noticed a white substance

        on the seat of the vehicle where Alexis Sluder had been sitting.

40.     The white substance was tested after Alexis was booked and

        determined to be methamphetamine.

41.     On August 26, 2022, at approximately 9 p.m., Alexis Sluder was booked

        into the Elbert Shaw Regional Youth Detention Center (“the RYDC”).

42.     Upon transporting Alexis Sluder to the RYDC, Sergeant Sharon Ellis

        informed Defendant Sergeant Maveis Brooks and other RYDC

        employees that she had found methamphetamine on Alexis Sluder’s

        person.




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43.     Defendant Officer Rebecka Phillips, Defendant Sergeant Maveis

        Brooks, Defendant Cadet Russell Ballard, Defendant Director David

        McKinney, Defendant Nurse Monica Headrick, and other RYDC

        employees knew she had been arrested for possession of controlled

        substances and drug related objects.

44.     At approximately 9. p.m. on August 26, 2022, Alexis Sluder was

        evaluated by Gilmer County Sergeant Sharon Ellis, Badge No. 535.

45.     Sergeant Sharon Ellis documented her evaluation on a Delivering

        Officer/Worker Courtesy Form (herein referred to as “Delivering Officer

        Form”).

46.     The Delivering Officer Form was reviewed by Amanda Stewart Smith.

47.     Upon information and belief, Amanda Stewart Smith was at all

        relevant times an employee of the State of Georgia’s Juvenile Justice

        Department.

48.     On the Delivering Officer Form, Gilmer County Sergeant Sharon Ellis

        noted the following:

49.     Alexis Sluder did not appear intoxicated or otherwise impaired.

50.     Alexis Sluder did not appear to be injured.

51.     Alexis Sluder did not act in a violent or self-destructive way.

52.     Alexis Sluder did not seem depressed or scared about being detained.


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53.     Alexis Sluder did not act strangely.

54.     Sergeant Sharon Ellis did not have any reason to think Alexis Sluder

        would harm herself.

55.     Alexis Sluder “refused to follow instructions in the vehicle. Spit on

        floorboard, again.”

56.     Sergeant Ellis failed to note that methamphetamine or any other

        foreign substance was found on Alexis Sluder’s person.

57.     The Delivering Officer Form instructed RYDC Intake Staff of the

        following: “If the child seems intoxicated, under the influence of drugs,

        severely injured, or any indication of Self Harm possibility you must

        immediately contact ON SITE Mental Health or Medical. If they are

        not onsite you must contact the Director, Assistant Director on site, or

        the ADO if no one listed is at the facility at the time of entrance.”

58.     At approximately 9:07 p.m. on August 26, 2022, Alexis Sluder

        underwent a Medical Screening.

59.     The documentation of Alexis Sluder’s medical screening reflected the

        following:

60.     Alexis Sluder had “medical problems,” had previously been

        hospitalized, and was taking medication.

61.     Alexis Sluder had recently been sexually abused.


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62.     Alexis Sluder had “depression bipolar anxiety schizophrenia” and took

        “abilphy Lexapro and one unknown.”

63.     Alexis Sluder had no medications on her person during booking.

64.     At approximately 9:13 p.m. on August 26, 2022, Alexis Sluder

        underwent a Mental Health Screening.

65.     The Mental Health Screening was conducted by Amanda Stewart

        Smith and Xan Overman.

66.     The documentation of Alexis Sluder’s Mental Health Screening

        reflected the following information:

67.     Alexis Sluder was not charged with a serious offense.

68.     When asked why she was at the RYDC, Alexis Sluder responded

        “because I ran away.”

69.     When asked if she has felt like hurting or killing herself in the past

        month, Alexis Sluder answered “Yes.”

70.     When asked if she had ever done anything on purpose to hurt herself,

        Alexis Sluder answered “Yes.”

71.     When asked if she was thinking about harming or killing herself at the

        time of the screening, Alexis Sluder answered “Yes.”

72.     When asked if she had been in counseling for emotional, psychological,

        or behavioral problems in the past year, Alexis Sluder answered “Yes.”


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73.     When asked if she had been prescribed medication for emotional,

        psychological, behavioral, or attention problems in the last year, Alexis

        Sluder answered “Yes.”

74.     When asked if she had been prescribed medication for emotional,

        psychological, behavioral, or attention problems in the last thirty days,

        Alexis Sluder answered “Yes.”

75.     When asked if she had ever been in a treatment facility for emotional,

        psychological, or behavioral problems, Alexis Sluder answered “Yes”

        and explained that she had been to a facility in April, May, June, and

        July of 2021, and another facility three weeks prior.

76.     When asked if anyone had ever touched her private sexual body parts

        in a way that she didn’t want them to, Alexis Sluder answered “Yes,”

        and explained that she had been sexually abused four days prior.

77.     When asked if she had ever seen things that other people can’t see,

        Alexis Sluder answered “Yes” and explained that she sometimes sees

        shadow people that are not there.

78.     When asked if she had ever heard voices or other noises that people

        cannot hear, Alexis Sluder answered “Yes.”

79.     When asked if she abused alcohol or drugs within the last year, Alexis

        Sluder answered “Yes” and explained that she had taken “meth &


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        various pills today marijuana 1 week ago cocaine 1 month ago liquor

        beer 1 to 2 weeks ago.”

80.     When asked if she had ever overdosed on drugs or alcohol, Alexis

        Sluder answered “Yes” and explained that she had been hospitalized in

        July 2022.

81.     During her Mental Health Screening, Alexis Sluder’s answers

        warranted four “Warning” notations and four “Caution” notations.

82.     The questions pertaining to Alexis Sluder’s drug and alcohol use were

        explicitly excluded from the “Warning” and “Caution” totals.

83.     During her Mental Health Screening, Alexis Sluder told Amanda

        Stewart Smith and Xan Overman that she had taken the meth she had

        on her that evening prior to her arrest as the police were walking

        towards the vehicle, which Smith and Overman noted on the Screening

        documentation.

84.     Alexis Sluder advised Amanda Stewart Smith that “she had ate the

        meth she had on her when the cops came and she realized she might be

        going to jail” and that “she had taken other unknown items earlier in

        the day as she felt suicidal over the last 3 weeks and currently feels

        this way.”




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85.     Amanda Stewart Smith notified via email Michelle S. Kittle, Monica

        Headrick, Xan Overman, David McKinney, Kristen Nix, Lieutenant

        Charles Barbee Jr., Sergeant Maveis Brooks, and Christoper Ackerman

        that Alexis Sluder had taken meth during her arrest, had taken other

        substances, and was suicidal.

86.     Upon learning that Alexis Sluder had taken meth during her arrest,

        had taken other substances, and was suicidal, a conversation occurred

        amongst several RYDC employees, including Defendant Officer

        Rebecka Phillips, Defendant Sergeant Maveis Brooks, Defendant

        Officer Russell Ballard, Defendant Director David McKinney, and

        Defendant Nurse Monica Headrick.

87.     During their conversation, Defendant Officer Rebecka Phillips,

        Defendant Sergeant Maveis Brooks, Defendant Officer Russell Ballard,

        Defendant Director David McKinney, and Defendant Nurse Monica

        Headrick discussed Alexis Sluder’s symptoms, medical risks, and

        options regarding her treatment and placement.

88.     After their conversation regarding Alexis Sluder’s medical risks and

        options regarding her treatment and placement, Defendant Officer

        Rebecka Phillips, Defendant Sergeant Maveis Brooks, Defendant

        Officer Russell Ballard, Defendant Director David McKinney, and


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        Defendant Nurse Monica Headrick determined that Alexis Sluder

        should be taken to the hospital.

89.     Defendant Sergeant Sharon Ellis was asked to transport Alexis Sluder

        to the hospital.

90.     Defendant Sergeant Sharon Ellis declined to transport Alexis Sluder to

        the hospital.

91.     Defendant Sergeant Sharon Ellis told RYDC staff that she was not

        permitted to transport Alexis Sluder to the hospital because she had

        already released Alexis Sluder into the custody of the State of Georgia,

        so she no longer had jurisdiction to transport Alexis Sluder.

92.     The State of Georgia, the Department of Juvenile Justice, and the

        RYDC retain vehicles and staff capable of transporting juveniles

        between facilities and to other locations, such as court or medical

        facilities.

93.     The State of Georgia, the Department of Juvenile Justice, and the

        RYDC employees have access to phone lines that would have permitted

        them to call 9-1-1 or another emergency medical transportation service.

94.     Despite their recognition that Alexis Sluder should be transported to a

        hospital, Defendant Officer Rebecka Phillips, Defendant Sergeant

        Maveis Brooks, Defendant Officer Russell Ballard, Defendant Director


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        David McKinney, and Defendant Nurse Monica Headrick elected not to

        transport Alexis to a medical facility or to call 911, an ambulance, or

        emergency medical services.

95.     Alexis Sluder was placed in the G-100 Hall on Level III observation

        “due to the statements made in intake process.”

96.     According to the policies of the State of Georgia, the Department of

        Juvenile Justice, and the RYDC, juveniles placed in G-100 Hall on

        Level III observation are required to be monitored constantly by facility

        staff.

97.     Alexis Sluder was placed in a room that was equipped with a video

        camera that was intended to facilitate RYDC officials’ ability to

        constantly monitor her.

98.     Alexis Sluder was placed in a room with constant video monitoring due

        to the medical and mental health concerns indicated during her

        Medical Screening and Mental Health Screening, including her intake

        of dangerous substances.

99.     Defendant Ballard was stationed in the nearby control room.

100. From the control room, Defendant Ballard had access to the live video

        feed being broadcasted from G-100 Hall.




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101. Throughout the evening that Alexis Sluder was in custody, Defendant

      Ballard watched the live video feed of Alexis Sluder.

102. Throughout the evening that Alexis Sluder was in custody, Defendant

      Rebecka Phillips and Defendant Maveis Brooks were stationed in the

      same room as Alexis.

103. It was the responsibility of Defendant Rebecka Phillips and Defendant

      Maveis Brooks to maintain constant, in-person supervision of Alexis

      Sluder while she was in G-100 Hall on Level III monitoring.

104. After being placed in her cell, Alexis began to suffer a medical

      emergency due to the drugs that she had ingested earlier that day.

105. During her medical emergency, Alexis Sluder convulsed.

106. During her medical emergency, Alexis Sluder writhed in pain.

107. During her medical emergency, Alexis Sluder thrashed about the room

      in an extremely unnatural way.

108. During her medical emergency, Alexis Sluder sweated profusely.

109. During her medical emergency, Alexis Sluder breathed extremely

      heavily.

110. During her medical emergency, Alexis Sluder cried.

111. Alexis Sluder’s overdose symptoms lasted over four hours.




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112. Alexis Sluder’s symptoms made it apparent that she was in pain and

     needed medical services.

113. Defendant Rebecka Phillips was consistently present in G-100 Hall

     with Alexis Sluder for the entire medical emergency.

114. Defendant Maveis Brooks was intermittently present in G-100 Hall

     with Alexis Sluder during the medical emergency.

115. Defendant Russell Ballard watched the medical emergency on the video

     feed from the control room.

116. For the last two hours of the medical emergency, Alexis Sluder lay on

     the ground nearly motionless.

117. At one point during her medical emergency, as she lay on the ground,

     Alexis Sluder reached out and grasped towards Defendant Rebecka

     Phillips’ ankle.

118. As Alexis Sluder lay on the ground and reached towards Defendant

     Rebecka Phillips’ ankle, Defendant Rebecka Phillips stood over her,

     watched, and did nothing to help her.

119. At one point during her medical emergency, Alexis Sluder turned to the

     camera and said audibly “Someone please help me. I took something.”




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120. Defendant Rebecka Phillips and Defendant Maveis Brooks were in

     earshot of Alexis Sluder when she said “Someone please help me. I took

     something.”

121. Defendant Rebecka Phillips and Defendant Maveis Brooks knew Alexis

     Sluder was suffering a medical emergency, as evidenced by the fact

     that they called Defendant Director David McKinney and Defendant

     Nurse Monica Headrick several times to discuss her symptoms and

     potential course of action.

122. During the more than four hours of Alexis Sluder’s overdose, Defendant

     Officer Rebecka Phillips, Defendant Sergeant Maveis Brooks,

     Defendant Officer Russell Ballard, Defendant Director David

     McKinney, and Defendant Nurse Monica Headrick engaged in several

     conversations regarding Alexis Sluder’s medical emergency.

123. Over multiple phone calls, Defendant Sergeant Maveis Brooks and

     Defendant Officer Rebecka Phillips explained to Defendant Director

     David McKinney and Defendant Nurse Monica Headrick what kinds of

     symptoms Alexis Sluder was suffering.

124. During their conversations, Defendant Officer Rebecka Phillips,

     Defendant Sergeant Maveis Brooks, Defendant Officer Russell Ballard,

     Defendant Director David McKinney, and Defendant Nurse Monica


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      Headrick discussed that they did not have enough officers on staff to

      transport Alexis Sluder to a hospital without violating a policy set forth

      by the State of Georgia, the Department of Justice, and the RYDC.

125. During the medical emergency, Defendant Officer Rebecka Phillips,

      Defendant Sergeant Maveis Brooks, Defendant Officer Russell Ballard,

      Defendant Director David McKinney, and Defendant Nurse Monica

      Headrick asked Sergeant Sharon Ellis to transport Alexis Sluder to a

      hospital or other emergency medical facility.

126. Defendant Sergeant Sharon Ellis refused to transport Alexis Sluder

      even after she learned about her medical emergency.

127. There is no policy set forth by the State of Georgia, the Department of

      Justice, and the Dalton RYDC preventing State employees from calling

      9-1-1 or another emergency medical services to transport juveniles to

      the hospital in a medical emergency.

128. Alexis Sluder was not suspected of a violent crime.

129. Alexis Sluder was not arrested for a violent crime.

130. There was no legitimate penological interest in keeping Alexis Sluder

      from going to the hospital.

131. Defendant Officer Rebecka Phillips, Defendant Sergeant Maveis

      Brooks, Defendant Officer Russell Ballard, Defendant Director David


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     McKinney, Defendant Nurse Monica Headrick, and Defendant Sharon

     Ellis were all responsible for Alexis Sluder’s safety on August 26, 2022,

     and August 27, 2022.

132. There were several ways that the Defendants could have given Alexis

     Sluder access to medical care.

133. Defendant Rebecka Phillips could have transported her to a hospital or

     other emergency medical facility.

134. Defendant Maveis Brooks could have transported her to a hospital or

     other emergency medical facility.

135. Defendant Russell Ballard could have transported her to a hospital or

     other emergency medical facility.

136. Defendant David McKinney could have transported her to a hospital or

     other emergency medical facility.

137. Defendant Monica Headrick could have transported her to a hospital or

     other emergency medical facility.

138. Defendant Sharon Ellis could have transported her to a hospital or

     other emergency medical facility.

139. Defendant Rebecka K. Phillips could have requested another State

     employee to transport her to the hospital.




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140. Defendant Maveis Brooks could have requested another State employee

     to transport her to the hospital.

141. Defendant Russell Ballard could have requested another State

     employee to transport her to the hospital.

142. Defendant David McKinney could have requested another State

     employee to transport her to the hospital.

143. Defendant Monica Headrick could have requested another State

     employee to transport her to the hospital.

144. Defendant Sharon Ellis could have requested another Gilmer County

     employee to transport her to the hospital.

145. Defendant Rebecka Phillips could have called 9-1-1 or another

     emergency medical service.

146. Defendant Maveis Brooks could have called 9-1-1 or another emergency

     medical service.

147. Defendant Russell Ballard could have called 9-1-1 or another

     emergency medical service.

148. Defendant David McKinney could have called 9-1-1 or another

     emergency medical service.

149. Defendant Monica Headrick could have called 9-1-1 or another

     emergency medical service.


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150. Defendant Sharon Ellis could have called 9-1-1 or another emergency

     medical service. Instead, having come to an agreement that they

     would not transport Alexis Sluder themselves due to policy, Defendant

     Officer Rebecka Phillips, Defendant Sergeant Maveis Brooks,

     Defendant Officer Russell Ballard, Defendant Director David

     McKinney, Defendant Nurse Monica Headrick, and Defendant Sharon

     Ellis allowed Alexis Sluder to suffer a medical emergency in extreme

     pain without any medical attention or transport to a medical facility for

     over four hours.

151. Finally, at approximately 3:12 a.m. on August 27, 2022, Defendant

     Officer Rebecka Phillips advised over the radio that Alexis Sluder “was

     not breathing properly.”

152. Upon hearing Defendant Officer Rebecka Phillips’ advisement over the

     radio, Sergeant Maveis Brooks left the intake section of the Dalton

     RYDC and headed towards G-100 Hall.

153. Upon arriving at G-100, Sergeant Maveis Brooks assessed Alexis

     Sluder and eventually advised Defendant Control Room Operator

     Cadet Russell Ballard to call 9-1-1.

154. Soon after Sergeant Maveis Brooks advised Defendant Cadet Ballard to

     call 9-1-1, Alexis Sluder stopped breathing.


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155. Defendant Cadet Russell Ballard called 9-1-1 and advised of a medical

     emergency at the RYDC.

156. Defendant Sergeant Maveis Broks performed CPR.

157. Defendant Officer Rebecka Phillips retrieved the AED out of a nearby

     closet.

158. Defendant Officer Rebecka Phillips began CPR compressions as

     Sergeant Maveis Brooks set up the AED.

159. Sergeant Maveis Brooks applied the AED.

160. Alexis Sluder was pronounced dead at 4:26 a.m. on August 27, 2022.

161. Alexis Sluder’s immediate cause of death was found to be

     Methamphetamine Toxicity.

162. The Georgia Bureau of Investigation’s autopsy found that the cause of

     Alexis’s death was drug toxicity due to 17 milligrams per liter of

     methamphetamine and .51 milligrams per liter of amphetamine.

163. As a result of the events involving Alexis Sluder on August 26 and 27,

     2022, Defendant Officer Rebecka Phillips, Defendant Sergeant Maveis

     Brooks, Cadet Officer Russell Ballard, and Defendant Director David

     McKinney were terminated from their employment at the RYDC.

164. At all times relevant, Defendant Officer Rebecka Phillips, Defendant

     Sergeant Maveis Brooks, Defendant Cadet Russell Ballard, Defendant


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     Director David McKinney, Defendant Nurse Monica Headrick, and

     Defendant Sharon Ellis were aware that Alexis Sluder entered RYDC

     with medical risks that required heightened observation, including that

     she had taken all of the drugs on her prior to being admitted into the

     RYDC.

165. At all times relevant, Defendant Officer Rebecka Phillips, Defendant

     Sergeant Maveis Brooks, Defendant Cadet Russell Ballard, Defendant

     Director David McKinney, Defendant Nurse Monica Headrick, and

     Defendant Sharon Ellis aware that Alexis Sluder entered the RYDC

     with several mental health risks that required constant observation,

     including recent suicide attempt and ideation, recent drug abuse, and a

     history of mental illness.

166. At all times relevant, Defendant Officer Rebecka Phillips, Defendant

     Sergeant Maveis Brooks, Defendant Cadet Russell Ballard, Defendant

     Director David McKinney, Defendant Nurse Monica Headrick, and

     Defendant Sharon Ellis were aware that Alexis Sluder was placed on

     Level III observation, which was a heightened level of observation, that

     required constant monitoring of Alexis Sluder’s health, safety, and

     well-being due to her medical and mental health risks.




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167. Despite their knowledge of Alexis Sluder’s need for heightened

     observation, Defendant Officer Rebecka Phillips, Defendant Sergeant

     Maveis Brooks, and Defendant Cadet Russell Ballard did not

     continuously monitor Alexis Sluder’s health, safety, and well-being.

168. Despite their knowledge of Alexis Sluder’s need for heightened

     observation and medical risks, Defendant Officer Rebecka Phillips,

     Defendant Sergeant Maveis Brooks, Defendant Officer Russell Ballard,

     Defendant Director David McKinney, Defendant Nurse Monica

     Headrick, and Defendant Sharon Ellis did not respond reasonably to

     Alexis Sluder when she became visibly distressed.

169. Despite their knowledge of Alexis Sluder’s need for heightened

     observation and medical risks, Defendant Officer Rebecka Phillips,

     Defendant Sergeant Maveis Brooks, Defendant Officer Russell Ballard,

     Defendant Director David McKinney, Defendant Nurse Monica

     Headrick, and Defendant Sharon Ellis did not respond reasonably to

     Alexis Sluder when she stated her need for help.

170. Despite their knowledge that Alexis Sluder had taken drugs before

     entering the RYDC and of Alexis Sluder’s need for heightened

     observation, Defendant Officer Rebecka Phillips, Defendant Sergeant

     Maveis Brooks, and Defendant Cadet Russell Ballard did not respond


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     reasonably to Alexis Sluder when she informed them through the

     camera that she needed help because she had taken something.

171. Defendant Officer Rebecka Phillips, Defendant Sergeant Maveis

     Brooks, Defendant Officer Russell Ballard, Defendant Director David

     McKinney, Defendant Nurse Monica Headrick, and Defendant Sharon

     Ellis became aware that Alexis Sluder was suffering from a medical

     emergency but did not respond until after she had been rendered

     unconscious.

172. Brooks, Phillips, and Ballard were indicted by a grand jury in the

     Superior Court of Whitfield County for Cruelty to Children in the First

     Degree for “malicious caus[ing] Alexis Marie Sluder, a child under the

     age of eighteen (18) years, cruel and excessive physical pain by

     depriving said child of the necessary medical care she needed while in

     the lawful custody of said defendants and by not contacting emergency

     medical authorities in a timely manner.”

173. Brooks, Phillips, Ballard, McKinney, and Headrick were indicted by a

     grand jury in the Superior Court of Whitfield County for Cruelty to

     Children in the Second Degree for “with criminal negligence, caus[ing]

     Alexis Marie Sluder, a child under the age of eighteen (18) years, cruel

     and excessive physical pain by depriving said child of the necessary


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       medical care she needed while in the lawful custody of said defendants

       by not contacting emergency medical authorities in a timely manner.”

174. Defendant McKinney directed Sergeant Brooks not to call 9-1-1

       multiple times.

175.   Defendant Headrick directed Sergeant Brooks not to call 9-1-1

       multiple times.

176. At the Dalton RYDC, on the night of the incident, the chain of

       command was set up such that Defendant McKinney was the highest-

       ranking supervisor responsible for responding to serious incidents

       when subordinates made him aware of such incidents.

177. By 10 p.m. on the night of the incident, all Defendants were aware that

       Alexis had been vomiting, had a fever, was bleeding from her mouth,

       was not properly swallowing, was unusually stiff, was accumulating

       foam at her mouth, and was breathing abnormally.

178. Defendant McKinney is not medical personnel and has no medical

       training.

179. Defendant McKinney believed that Alexis Sluder’s vomiting was a sign

       that she was getting better, not worse, which influenced his decision to

       not refer or facilitate a transfer of Alexis Sluder to emergency services

       or a hospital.


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180. Defendant McKinney repeatedly instructed Sergeant Brooks regarding

     what medical care Alexis required.

181. DJJ policy prohibits non-medical personnel from making medical

     decisions.

182. DJJ policy requires medical staff to make decisions regarding “the need

     for medical services staff to return to the facility for assessments after

     clinic-hours” and “[d]etermining the need for youth to be transported

     off-site for medical [ ] services” in concurrence with a Medical Director

     and a physician.

183. In 2015, the United States Department of Justice released a report

     (DOJ Report) outlining several systemic and chronic deficiencies in the

     Georgia Department of Juvenile Justice’s Regional Youth Detention

     Centers.

184. The DOJ Report found the following:

        a. “Each RYDC is staffed with one nurse, who is on-site eight hours

           each weekday, and on-call on nights and weekends. The nurse

           must conduct sick call, manage and distribute medication, review

           intake medical screenings, arrange outside appointments and

           consultations, and respond to emergencies, in addition to

           performing the required physical examinations on new intakes.


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        Each RYDC contracts with a private physician to provide two

        hours per week of medical service. This level of staffing is

        inadequate, given the population of the RYDCs and the

        rapid population turnover, leading to dangerous lapses in

        medical care. Often, screening forms are not completed by the

        line staff or sufficiently reviewed by the medical staff; physicals

        are not completed in a timely manner or are only partially

        completed; medical conditions requiring treatment or monitoring

        are missed; response to sick call requests can be delayed for days;

        and medical records are incomplete and often not sent with

        youths when they are transferred to another DJJ facility. These

        predictable consequences of an overburdened medical staff are

        exacerbated by inadequate training and supervision of the

        medical personnel -- for most practical purposes, the facility

        nurse runs an autonomous health care program without any

        significant oversight or quality assurance from the State Medical

        Director's office or the contractor.”

     b. “Our investigation identified a pattern of egregious conditions

        violating the federal rights of youths in the Georgia juvenile

        facilities we toured. These violations include the failure to


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        provide adequate mental health care to mentally disturbed

        youths throughout the system; overcrowded and unsafe

        conditions in the Regional Youth Detention Centers; abusive

        disciplinary practices, particularly in the boot camps, including

        physical abuse by staff and the abusive use of mechanical and

        chemical restraints on mentally ill youths; inadequate education

        and rehabilitative services; and inadequate medical care in

        certain areas. Because of these conditions, many youths have

        suffered grievous harm, such as being injured or hospitalized due

        to fights with other youths or physical abuse by staff; mentally

        ill youths have degenerated in the State's care; youths

        have suffered needless pain and continued illness from

        undiagnosed or inadequately treated medical conditions;

        and youths' educations have been damaged by grossly

        substandard DJJ educational programs.”

     c. “[O]ur review of State documents and interviews with State

        administrators indicate that many of the problems identified in

        the facilities we visited were caused in large part by lack of

        resources and other inadequacies that are prevalent throughout




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           the DJJ system and affect facilities beyond those toured by our

           experts and investigators.”

185. The DOJ Report placed all Defendants on notice of widespread

     understaffing and inadequate medical treatment that occurred at DJJ

     facilities such as the Dalton RYDC.

186. The Dalton RYDC was staffed with one nurse who was on-call but not

     on site at night or on weekends. In other words, it was staffed exactly

     the way that the DOJ Report took issue with in 2015 and found to be

     dangerous and inadequate.

187. All Defendants knew that the Dalton RYDC was chronically

     understaffed.

188. All Defendants knew that the Dalton RYDC was understaffed on the

     night of Alexis Sluder’s death, in accordance with the widespread

     custom of understaffing the facility.

189. Alexis Sluder was sixteen at the time of her death.

190. Alexis Sluder’s parents, Plaintiffs Melanie Hogan Sluder and Ricky

     Shawn Curtis have experienced immense pain and suffering as a result

     of the untimely death of their only daughter.

191. As a result of the Defendants’ actions, Alexis Sluder experienced pain

     and suffering, including but not limited to a very long and painful


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      death in which she convulsed, overheated, breathed heavily, writhed in

      pain, and begged for help.

192. Before her death, Alexis Sluder enjoyed playing softball.

193. Before her death, Alexis Sluder participated in beauty pageants, where

      she won an award for “Prettiest Smile.”

194. Before her death, Alexis Sluder was a student at Gilmer High School in

      Elijay, Georgia.

195. Before her death, Alexis Sluder was expected to graduate from Gilmer

      High School on or about May 24, 2024.

196. On or about May 24, 2024, Gilmer High School held a graduation

      ceremony, during which a seat was reserved for Alexis Sluder and

      Gilmer High School posthumously graduated her.


            42 U.S.C. Section 1983—Fourteenth Amendment
                       Plaintiffs v. Rebecka Phillips


197. Plaintiff incorporates Paragraphs 1-196 as if stated in the section

      herein.

198. At all relevant times, including when she was booked into the RYDC

      and when she began to overdose, Alexis Sluder had an objectively

      serious medical need.




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199. At all relevant times, Officer Rebecka Phillips knew that Alexis Sluder

     had taken dangerous substances.

200. Upon learning that Alexis Sluder had taken dangerous substances,

     Officer Rebecka Phillips knew that Alexis Sluder required medical

     treatment.

201. Upon learning that Alexis Sluder had taken dangerous substances,

     Officer Rebecka Phillips knew that Alexis Sluder required heightened

     levels of monitoring.

202. Officer Rebecka Phillips also knew that Alexis Sluder required

     heightened levels of monitoring due to her mental health risks, which

     included diagnoses of serious mental illnesses and recent suicide

     attempts.

203. Upon learning that Alexis Sluder had taken dangerous substances,

     Officer Rebecka Phillips knew that Alexis Sluder had an objectively

     serious medical need.

204. Upon learning that Alexis Sluder had taken dangerous substances,

     Officer Rebecka Phillips knew that Alexis Sluder was at risk of serious

     harm if not appropriately monitored.




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205. Upon learning that Alexis Sluder had taken dangerous substances,

     Officer Rebecka Phillips knew that Alexis Sluder needed to be

     transported to a medical facility.

206. At all relevant times, Officer Rebecka Phillips remained in the room

     where Alexis Sluder experienced her medical emergency and the

     symptoms thereof.

207. At all relevant times, Officer Rebecka Phillips was monitoring or

     should have been monitoring Alexis’s health, safety, and well-being.

208. Officer Rebecka Phillips became aware that Alexis Sluder was

     undergoing a medical emergency while Alexis Sluder was overdosing

     and began to exhibit physical symptoms thereof, including writhing on

     the ground, sweating profusely, breathing heavily, and crying out for

     help.

209. Despite her knowledge that Alexis Sluder was undergoing a medical

     emergency, Officer Rebecka Phillips did nothing to help her.

210. Defendant Rebecka Phillips witnessed Maveis Brooks depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

211. Defendant Rebecka Phillips witnessed Russell Ballard depriving Alexis

     Sluder of medical care and had the opportunity to intervene.




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212. Defendant Rebecka Phillips witnessed Monica Headrick depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

213. Defendant Rebecka Phillips witnessed David Mckinney depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

214. Officer Rebecka Phillips acted objectively unreasonably and with

     deliberate indifference towards the safety of Alexis Sluder in the

     following ways:


       a.   Failing to transfer Alexis Sluder to a medical facility upon

            learning that she had taken dangerous substances;

       b.   Failing to contact 9-1-1 or any other emergency medical services

            upon learning that Alexis Sluder had ingested dangerous

            substances;

       c.   Failing to place Alexis Sluder on any withdrawal protocol upon

            learning that she had ingested dangerous substances;

       d.   Failing to monitor Alexis Sluder despite knowledge that she had

            taken dangerous substances;

       e.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a drug overdose;

       f.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a medical emergency;


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    g.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a medical emergency;

    h.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a drug overdose;

    i.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;

    j.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    k.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    l.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    m. Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;

    n.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    o.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a medical emergency;


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    p.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a drug overdose;

    q.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her in extreme pain;

    r.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a medical

         emergency;

    s.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a drug

         overdose;

    t.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder in extreme pain;

    u.   Failing to take any other reasonable measures to provide Alexis

         Sluder access to necessary medical care;

    v.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    w.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    x.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed heightened monitoring;


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       y.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a drug overdose;

       z.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a medical emergency;

       aa. Failing to respond to Alexis Sluder’s medical emergency in a

             timely manner;

       bb. Failing to intervene to stop Monica Headrick’s objectively

             unreasonable and deliberately indifferent conduct;

       cc. Failing to intervene to stop Maveis Brooks’ objectively

             unreasonable and deliberately indifferent conduct;

       dd. Failing to intervene to stop Russell Ballard’s objectively

             unreasonable and deliberately indifferent conduct;

       ee. Failing to intervene to stop David McKinney’s objectively

             unreasonable and deliberately indifferent conduct; and

       ff.   Failing to take any other reasonable measures to ensure Alexis

             Sluder’s safety.


215. As a direct and proximate result of Officer Rebecka Phillips’ objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder did not

      receive necessary medical attention.




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216. As a direct and proximate result of Officer Rebecka Phillips’ objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder

      suffered a long, painful, drug overdose.

217. As a direct and proximate result of Officer Rebecka Phillips’ objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder passed

      away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.



              42 U.S.C. Section 1983—Fourteenth Amendment
                          Plaintiffs v. Maveis Brooks


218. Plaintiff incorporates Paragraphs 1-196 as if stated in the section

      herein.

219. At all relevant times, including when she was booked into the RYDC

      and when she began to overdose, Alexis Sluder had an objectively

      serious medical need.

220. At all relevant times, Sergeant Maveis Brooks knew that Alexis Sluder

      had taken dangerous substances.



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221. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Maveis Brooks knew that Alexis Sluder required medical

     treatment.

222. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Maveis Brooks knew that Alexis Sluder required heightened

     levels of monitoring.

223. Sergeant Maveis Brooks also knew that Alexis Sluder required

     heightened levels of monitoring due to her mental health risks, which

     included diagnoses of serious mental illnesses and recent suicide

     attempts.

224. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Maveis Brooks knew that Alexis Sluder had an objectively

     serious medical need.

225. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Maveis Brooks knew that Alexis Sluder was at risk of serious

     harm if not appropriately monitored.

226. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Maveis Brooks knew that Alexis Sluder needed to be

     transported to a medical facility.




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227. Throughout Alexis Sluder’s medical emergency, Sergeant Maveis

     Brooks was present in the room where Alexis Sluder experienced her

     medical emergency and the symptoms thereof.

228. Throughout Alexis Sluder’s medical emergency, Sergeant Maveis

     Brooks was monitoring or should have been monitoring Alexis’s health,

     safety, and well-being.

229. Sergeant Maveis Brooks became aware that Alexis Sluder was

     undergoing a medical emergency while Alexis Sluder was overdosing

     and began to exhibit physical symptoms thereof, including writhing on

     the ground, sweating profusely, breathing heavily, and crying out for

     help.

230. Sergeant Maveis Brooks became aware that Alexis Sluder was

     undergoing a medical emergency while Alexis Sluder was overdosing.

231. Despite her knowledge that Alexis Sluder was undergoing a medical

     emergency, Sergeant Maveis Brooks did nothing to help her.

232. Defendant Maveis Brooks witnessed Rebecka Phillips depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

233. Defendant Maveis Brooks witnessed Russell Ballard depriving Alexis

     Sluder of medical care and had the opportunity to intervene.




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234. Defendant Maveis Brooks witnessed Monica Headrick depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

235. Defendant Maveis Brooks witnessed David Mckinney depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

236. Sergeant Maveis Brooks acted objectively unreasonably and with

     deliberate indifference towards the safety of Alexis Sluder in the

     following ways:


       a.   Failing to transfer Alexis Sluder to a medical facility upon

            learning that she had taken dangerous substances;

       b.   Failing to contact 9-1-1 or any other emergency medical services

            upon learning that Alexis Sluder had ingested dangerous

            substances;

       c.   Failing to place Alexis Sluder on any withdrawal protocol upon

            learning that she had ingested dangerous substances;

       d.   Failing to monitor Alexis Sluder despite knowledge that she had

            taken dangerous substances;

       e.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a drug overdose;

       f.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a medical emergency;


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    g.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a medical emergency;

    h.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a drug overdose;

    i.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;

    j.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    k.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    l.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    m. Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;

    n.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    o.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a medical emergency;


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    p.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a drug overdose;

    q.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her in extreme pain;

    r.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a medical

         emergency;

    s.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a drug

         overdose;

    t.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder in extreme pain;

    u.   Failing to take any other reasonable measures to provide Alexis

         Sluder access to necessary medical care;

    v.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    w.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    x.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed heightened monitoring;


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       y.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a drug overdose;

       z.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a medical emergency;

       aa. Failing to respond to Alexis Sluder’s medical emergency in a

             timely manner;

       bb. Failing to intervene to stop Rebecka Phillips’ objectively

             unreasonable and deliberately indifferent conduct;

       cc. Failing to intervene to stop Monica Headrick’s objectively

             unreasonable and deliberately indifferent conduct;

       dd. Failing to intervene to stop Russell Ballard’s objectively

             unreasonable and deliberately indifferent conduct;

       ee. Failing to intervene to stop David McKinney’s objectively

             unreasonable and deliberately indifferent conduct; and

       ff.   Failing to take any other reasonable measures to ensure Alexis

             Sluder’s safety.


237. As a direct and proximate result of Sergeant Maveis Brooks’ objectively

     unreasonable conduct and deliberate indifference, Alexis Sluder did not

     receive necessary medical attention.




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238. As a direct and proximate result of Maveis Brooks’ objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder

      suffered a long, painful, drug overdose.

239. As a direct and proximate result of Maveis Brooks’ objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder passed

      away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.


              42 U.S.C. Section 1983—Fourteenth Amendment
                          Plaintiffs v. Russell Ballard


240. Plaintiff incorporates Paragraphs 1-196 as if independently stated in

      the section herein.

241. At all relevant times, including when she was booked into the RYDC

      and when she began to overdose, Alexis Sluder had an objectively

      serious medical need.

242. Upon learning that Alexis Sluder had taken dangerous substances,

      Russell Ballard knew that Alexis Sluder required heightened levels of

      monitoring.

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243. Upon learning that Alexis Sluder had been placed on Level III

      monitoring, Russell Ballard knew that Alexis Sluder required

      heightened levels of monitoring.

244. Upon learning that Alexis Sluder had taken dangerous substances,

      Russell Ballard knew that Alexis Sluder had an objectively serious

      medical need.

245. At all relevant times, Russell Ballard had access to a live feed

      broadcasting from the video camera in Alexis Sluder’s cell.

246. At all relevant times, Russell Ballard was watching the live camera

      feed in Alexis Sluder’s cell.

247. Russell Ballard became aware that Alexis Sluder was undergoing a

      medical emergency while Alexis Sluder was overdosing.

248. Upon witnessing Alexis Sluder writhe in pain, cry, state that she

      needed help because she had taken drugs, and other symptoms of her

      medical emergency, Russell Ballard was aware that Alexis Sluder had

      an objectively serious medical need.

249. Defendant Russell Ballard witnessed Rebecka Phillips depriving Alexis

      Sluder of medical care and had the opportunity to intervene.

250. Defendant Russell Ballard witnessed Maveis Brooks depriving Alexis

      Sluder of medical care and had the opportunity to intervene.


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251. Defendant Russell Ballard witnessed Monica Headrick depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

252. Defendant Russell Ballard witnessed David Mckinney depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

253. Russell Ballard acted objectively unreasonably and with deliberate

     indifference towards the safety of Alexis Sluder in the following ways:


       a.   Failing to transfer Alexis Sluder to a medical facility upon

            learning that she had taken dangerous substances;

       b.   Failing to contact 9-1-1 or any other emergency medical services

            upon learning that Alexis Sluder had ingested dangerous

            substances;

       c.   Failing to place Alexis Sluder on any withdrawal protocol upon

            learning that she had ingested dangerous substances;

       d.   Failing to monitor Alexis Sluder despite knowledge that she had

            taken dangerous substances;

       e.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a drug overdose;

       f.   Failing to monitor Alexis Sluder despite knowledge that she was

            experiencing a medical emergency;




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    g.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a medical emergency;

    h.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a drug overdose;

    i.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;

    j.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    k.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    l.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    m. Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;

    n.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    o.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a medical emergency;


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    p.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a drug overdose;

    q.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her in extreme pain;

    r.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a medical

         emergency;

    s.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a drug

         overdose;

    t.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder in extreme pain;

    u.   Failing to take any other reasonable measures to provide Alexis

         Sluder access to necessary medical care;

    v.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    w.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    x.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed heightened monitoring;


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       y.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a drug overdose;

       z.    Failing to take any other reasonable measures upon learning that

             Alexis Sluder was undergoing a medical emergency;

       aa. Failing to respond to Alexis Sluder’s medical emergency in a

             timely manner;

       bb. Failing to intervene to stop Rebecka Phillips’ objectively

             unreasonable and deliberately indifferent conduct;

       cc. Failing to intervene to stop Maveis Brooks’ objectively

             unreasonable and deliberately indifferent conduct;

       dd. Failing to intervene to stop Monica Headrick’s objectively

             unreasonable and deliberately indifferent conduct;

       ee. Failing to intervene to stop David McKinney’s objectively

             unreasonable and deliberately indifferent conduct; and

       ff.   Failing to take any other reasonable measures to ensure Alexis

             Sluder’s safety.


254. As a direct and proximate result of Russell Ballard’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder did not

      receive necessary medical attention.




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255. As a direct and proximate result of Russell Ballard’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder

      suffered a long, painful, drug overdose.

256. As a direct and proximate result of Russell Ballard’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder passed

      away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.


              42 U.S.C. Section 1983—Fourteenth Amendment
                         Plaintiffs v. David McKinney


257. Plaintiff incorporates Paragraphs 1-196 as if independently stated in

      the section herein.

258. At all relevant times, including when she was booked into the RYDC

      and when she began to overdose, Alexis Sluder had an objectively

      serious medical need.

259. At all relevant times, Assistant Director David McKinney knew that

      Alexis Sluder had taken dangerous substances.




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260. Upon learning that Alexis Sluder had taken dangerous substances,

     Assistant Director David McKinney knew that Alexis Sluder required

     medical treatment.

261. Upon learning that Alexis Sluder had taken dangerous substances,

     Assistant Director David McKinney knew that Alexis Sluder required

     heightened levels of monitoring.

262. Assistant Director David McKinney also knew that Alexis Sluder

     required heightened levels of monitoring due to her mental health

     risks, which included diagnoses of serious mental illnesses and recent

     suicide attempts.

263. Upon learning that Alexis Sluder had taken dangerous substances and

     had serious mental health risks, Assistant Director David McKinney

     knew that Alexis Sluder had an objectively serious medical need.

264. Upon learning that Alexis Sluder had taken dangerous substances,

     Assistant Director David McKinney knew that Alexis Sluder was at

     risk of serious harm if not appropriately monitored.

265. Upon learning that Alexis Sluder had taken dangerous substances,

     Assistant Director David McKinney knew that Alexis Sluder needed to

     be transported to a medical facility.




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266. Defendant David Mckinney witnessed Rebecka Phillips depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

267. Defendant David Mckinney witnessed Maveis Brooks depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

268. Defendant David Mckinney witnessed Monica Headrick depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

269. Defendant David Mckinney witnessed Russell Ballard depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

270. Assistant Director David McKinney acted objectively unreasonably and

     with deliberate indifference towards the safety of Alexis Sluder in the

     following ways:


       a.   Failing to transfer Alexis Sluder to a medical facility upon

            learning that she had taken dangerous substances;

       b.   Failing to contact 9-1-1 or any other emergency medical services

            upon learning that Alexis Sluder had ingested dangerous

            substances;

       c.   Failing to place Alexis Sluder on any withdrawal protocol upon

            learning that she had ingested dangerous substances;

       d.   Failing to monitor Alexis Sluder despite knowledge that she had

            taken dangerous substances;


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    e.   Failing to monitor Alexis Sluder despite knowledge that she was

         experiencing a drug overdose;

    f.   Failing to monitor Alexis Sluder despite knowledge that she was

         experiencing a medical emergency;

    g.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a medical emergency;

    h.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a drug overdose;

    i.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;

    j.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    k.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    l.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    m. Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;


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    n.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    o.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    p.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    q.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder had been placed on heightened monitoring;

    r.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder was undergoing a drug overdose;

    s.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder was undergoing a medical emergency;

    t.   Failing to respond to Alexis Sluder’s medical emergency in a

         timely manner;

    u.   Failing to intervene to stop Rebecka Phillips’ objectively

         unreasonable and deliberately indifferent conduct;

    v.   Failing to intervene to stop Maveis Brooks’ objectively

         unreasonable and deliberately indifferent conduct;

    w.   Failing to intervene to stop Russell Ballard’s objectively

         unreasonable and deliberately indifferent conduct;


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       x.   Failing to intervene to stop Monica Headrick’s objectively

            unreasonable and deliberately indifferent conduct;

       y.   Failing to physically go to the Elbert Shaw RYDC to evaluate

            Alexis Sluder when she knew of her condition;

       z.   Failing to take reasonable steps to address the known

            understaffing at the Elbert Shaw RYDC on the night of the

            incident.

       aa. Making decisions on medical matters despite not being medical

            personnel; and

       bb. Failing to take any other reasonable measures to ensure Alexis

            Sluder’s safety.


271. As Facility Director, Defendant McKinney was also a supervising

     official of the Elbert Shaw Regional Detention Facility.

272. As a supervisor, Defendant McKinney maintained and enforced a policy

     in which subordinates could not transport juveniles in their care to a

     medical facility when they are experiencing medical emergencies.

273. As a supervisor, Defendant McKinney maintained and enforced a policy

     in which subordinates could not provide medical care to juveniles

     experiencing medical emergencies.




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274. As a supervisor, Defendant McKinney maintained and enforced a policy

     in which subordinates could not contact emergency services and/or

     transportation for juveniles experiencing medical emergencies.

275. As a supervisor, Defendant McKinney directed Defendant Monica

     Headrick to deprive Alexis Sluder of medical care while she was

     experiencing a medical emergency and otherwise deprive her of

     constitutional rights.

276. As a supervisor, Defendant McKinney directed Defendant Maveis

     Brooks to deprive Alexis Sluder of medical care while she was

     experiencing a medical emergency and otherwise deprive her of

     constitutional rights.

277. Defendant McKinney directed Defendant Rebecka Phillips to deprive

     Alexis Sluder of medical care while she was experiencing a medical

     emergency and otherwise deprive her of constitutional rights.

278. Defendant McKinney directed Defendant Russell Ballard to deprive

     Alexis Sluder of medical care while she was experiencing a medical

     emergency and otherwise deprive her of constitutional rights.

279. Defendant McKinney knew Defendant Monica Headrick would deprive

     Alexis Sluder of medical care while she was experiencing a medical




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     emergency and otherwise deprive her of constitutional rights but failed

     to stop them from doing so.

280. Defendant McKinney knew Defendant Maveis Brooks to deprive Alexis

     Sluder of medical care while she was experiencing a medical emergency

     and otherwise deprive her of constitutional rights but failed to stop

     them from doing so.

281. Defendant McKinney knew Defendant Rebecka Phillips to deprive

     Alexis Sluder of medical care while she was experiencing a medical

     emergency and otherwise deprive her of constitutional rights but failed

     to stop them from doing so.

282. Defendant McKinney knew Defendant Russell Ballard to deprive Alexis

     Sluder of medical care while she was experiencing a medical emergency

     and otherwise deprive her of constitutional rights but failed to stop

     them from doing so.

283. Defendant McKinney was deliberately indifferent to a widespread

     practice in which juveniles were not provided with adequate medical

     care at the Dalton RYDC.

284. Defendant McKinney was deliberately indifferent to a widespread

     practice in which RYDCs lack sufficient medical staff to keep juveniles

     in custody safe.


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285. Defendant McKinney knew that DJJ RYDCs were chronically

      understaffed and took no measures to alleviate the dangers such

      understaffing posed to juveniles at the Dalton RYDC.

286. Such chronic understaffing predictably led to failures in assessing,

      diagnosing, and treating juveniles in the Dalton RYDC, including

      Alexis Sluder.

287. Defendant McKinney knew that there was a widespread practice at

      DJJ RYDCs, including the Dalton RYDC, or allowing youths to suffer

      needless pain and continued illness due to undiagnosed or inadequately

      treated medical conditions.

288. Defendant McKinney was deliberately indifferent to the widespread

      practice of allowing youths to suffer needless pain and continued illness

      due to undiagnosed or inadequately treated medical conditions.

289. The widespread practice of allowing youths to suffer needless pain and

      continued illness due to undiagnosed or inadequately treated medical

      conditions predictably

290. Defendant McKinney knew the facility was understaffed on the night of

      the incident.

291. Defendant McKinney did not take any steps to alleviate the

      understaffing problem on the night of the incident.


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292. Defendant McKinney knew that the understaffing problem posed a

      direct threat to the safety of the juveniles in custody at the Dalton

      RYDC, including Alexis Sluder.

293. Defendant McKinney was deliberately indifferent to the risks posed by

      chronic understaffing at the Dalton RYDC.

294. As a direct and proximate result of Assistant Director David

      McKinney’s objectively unreasonable conduct and deliberate

      indifference, Alexis Sluder did not receive necessary medical attention.

295. As a direct and proximate result of Assistant Director David

      McKinney’s objectively unreasonable conduct and deliberate

      indifference, Alexis Sluder suffered a long, painful, drug overdose.

296. As a direct and proximate result of Assistant Director David

      McKinney’s objectively unreasonable conduct and deliberate

      indifference, Alexis Sluder passed away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.


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                       Plaintiffs v. Monica Headrick


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297. Plaintiff incorporates Paragraphs 1-196 as if independently stated in

     the section herein.

298. At all relevant times, including when she was booked into the RYDC

     and when she began to overdose, Alexis Sluder had an objectively

     serious medical need.

299. At all relevant times, Monica Headrick knew that Alexis Sluder had

     taken dangerous substances.

300. Upon learning that Alexis Sluder had taken dangerous substances,

     Monica Headrick knew that Alexis Sluder required medical treatment.

301. Upon learning that Alexis Sluder had taken dangerous substances,

     Monica Headrick knew that Alexis Sluder required heightened levels of

     monitoring.

302. Monica Headrick also knew that Alexis Sluder required heightened

     levels of monitoring due to her mental health risks, which included

     diagnoses of serious mental illnesses and recent suicide attempts.

303. Upon learning that Alexis Sluder had taken dangerous substances,

     Monica Headrick knew that Alexis Sluder had an objectively serious

     medical need.




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304. Upon learning that Alexis Sluder had taken dangerous substances,

     Monica Headrick knew that Alexis Sluder was at risk of serious harm if

     not appropriately monitored.

305. Upon learning that Alexis Sluder had taken dangerous substances,

     Monica Headrick knew that Alexis Sluder needed to be transported to a

     medical facility.

306. Monica Headrick became aware that Alexis Sluder was undergoing a

     medical emergency while Alexis Sluder was overdosing.

307. Despite her knowledge that Alexis Sluder was undergoing a medical

     emergency, Monica Headrick did nothing to help her.

308. Defendant Monica Headrick witnessed Rebecka Phillips depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

309. Defendant Monica Headrick witnessed Maveis Brooks depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

310. Defendant Monica Headrick witnessed David McKinney depriving

     Alexis Sluder of medical care and had the opportunity to intervene.

311. Defendant Monica Headrick witnessed Russell Ballard depriving Alexis

     Sluder of medical care and had the opportunity to intervene.

312. Monica Headrick acted objectively unreasonably and with deliberate

     indifference towards the safety of Alexis Sluder in the following ways:


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    a.   Failing to recommend transfer of Alexis Sluder to a medical

         facility upon learning that she had taken dangerous substances;

    b.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder had ingested dangerous

         substances;

    c.   Failing to place Alexis Sluder on any withdrawal protocol upon

         learning that she had ingested dangerous substances;

    d.   Failing to monitor Alexis Sluder despite knowledge that she had

         taken dangerous substances;

    e.   Failing to monitor Alexis Sluder despite knowledge that she was

         experiencing a drug overdose;

    f.   Failing to monitor Alexis Sluder despite knowledge that she was

         experiencing a medical emergency;

    g.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a medical emergency;

    h.   Failing to notify medical staff upon learning that Alexis Sluder

         was undergoing a drug overdose;

    i.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;




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    j.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    k.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    l.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    m. Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;

    n.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    o.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    p.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    q.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder had been placed on heightened monitoring;

    r.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder was undergoing a drug overdose;


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    s.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder was undergoing a medical emergency;

    t.   Failing to respond to Alexis Sluder’s medical emergency in a

         timely manner;

    u.   Failing to physically go to the Elbert Shaw RYDC to evaluate

         Alexis Sluder when she knew of her condition;

    v.   Failing to physically go to the Elbert Shaw RYDC to evaluate

         Alexis Sluder when she knew no other medical staff was there to

         evaluate her in person;

    w.   Failing to intervene to stop Rebecka Phillips’ objectively

         unreasonable and deliberately indifferent conduct;

    x.   Failing to intervene to stop Maveis Brooks’ objectively

         unreasonable and deliberately indifferent conduct;

    y.   Failing to intervene to stop Russell Ballard’s objectively

         unreasonable and deliberately indifferent conduct;

    z.   Failing to intervene to stop David McKinney’s objectively

         unreasonable and deliberately indifferent conduct;

    aa. Failing to contact a Medical Director of Physician when making

         decisions regarding Ms. Sluder’s condition and need for

         transportation; and


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       bb. Failing to take any other reasonable measures to ensure Alexis

              Sluder’s safety.


313. As a direct and proximate result of Monica Headrick’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder did not

      receive necessary medical attention.

314. As a direct and proximate result of Monica Headrick’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder

      suffered a long, painful, drug overdose.

315. As a direct and proximate result of Monica Headrick’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder passed

      away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.



              42 U.S.C. Section 1983—Fourteenth Amendment
                           Plaintiffs v. Sharon Ellis


316. Plaintiff incorporates Paragraphs 1-196 as if independently stated in

      the section herein.


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317. At all relevant times, including when she was booked into the RYDC

     and when she began to overdose, Alexis Sluder had an objectively

     serious medical need.

318. At all relevant times, Sergeant Sharon Ellis knew that Alexis Sluder

     had taken dangerous substances.

319. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Sharon Ellis knew that Alexis Sluder required medical

     treatment.

320. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Sharon Ellis knew that Alexis Sluder required heightened

     levels of monitoring.

321. Sergeant Sharon Ellis also knew that Alexis Sluder required

     heightened levels of monitoring due to her mental health risks, which

     included diagnoses of serious mental illnesses and recent suicide

     attempts.

322. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Sharon Ellis knew that Alexis Sluder had an objectively

     serious medical need.




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323. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Sharon Ellis knew that Alexis Sluder was at risk of serious

     harm if not appropriately monitored.

324. Upon learning that Alexis Sluder had taken dangerous substances,

     Sergeant Sharon Ellis knew that Alexis Sluder needed to be

     transported to a medical facility.

325. Sergeant Sharon Ellis acted objectively unreasonably and with

     deliberate indifference towards the safety of Alexis Sluder in the

     following ways:


       a.   Failing to transfer or transport Alexis Sluder to a medical facility

            upon learning that she had taken dangerous substances;

       b.   Failing to contact 9-1-1 or any other emergency medical services

            upon learning that Alexis Sluder had ingested dangerous

            substances;

       c.   Refusing to transport Alexis Sluder to a medical facility;

       d.   Failing to notify medical staff upon learning that Alexis Sluder

            had ingested dangerous substances;

       e.   Failing to write in the booking intake form that Alexis Sluder

            had methamphetamine on her person;




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    f.   Failing to take any other reasonable measure upon learning that

         Alexis Sluder had ingested dangerous substances;

    g.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed medical treatment;

    h.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a medical emergency;

    i.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a medical

         emergency;

    j.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was undergoing a drug overdose;

    k.   Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was undergoing a drug

         overdose;

    l.   Failing to transfer Alexis Sluder to a medical facility upon

         learning that she was in extreme pain;

    m. Failing to contact 9-1-1 or any other emergency medical services

         upon learning that Alexis Sluder was in extreme pain;

    n.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a medical emergency;


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    o.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her undergo a drug overdose;

    p.   Failing to transfer Alexis Sluder to a medical facility while

         physically observing her in extreme pain;

    q.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a medical

         emergency;

    r.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder undergo a drug

         overdose;

    s.   Failing to contact 9-1-1 or any other emergency medical services

         while physically observing Alexis Sluder in extreme pain;

    t.   Failing to take any other reasonable measures to provide Alexis

         Sluder access to necessary medical care;

    u.   Failing to take any other reasonable measures upon learning that

         Alexis Sluder needed heightened monitoring; and,

    v.   Failing to take any other reasonable measures to ensure Alexis

         Sluder’s safety.




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326. As a direct and proximate result of Sergeant Sharon Ellis’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder did not

      receive necessary medical attention.

327. As a direct and proximate result of Sergeant Sharon Ellis’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder

      suffered a long, painful, drug overdose.

328. As a direct and proximate result of Sergeant Sharon Ellis’s objectively

      unreasonable conduct and deliberate indifference, Alexis Sluder passed

      away.


Wherefore, Plaintiffs, personally and as individual administrators of the

Estate of Alexis Sluder, seek to recover lost support and services, medical

expenses, mental pain and suffering, loss of normal life, attorneys’ fees,

punitive damages, and any other appropriate compensatory damages.


                                Jury Demand

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs

Melanie Hogan Sluder and Ricky Shawn Curtis, individually and as

administrators of the estate of Alexis Marie Sluder, hereby demand a jury

trial of all issues capable of being determined by a jury.




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                             Prayer for Relief

WHEREFORE, Plaintiffs Melanie Hogan Sluder and Ricky Shawn Curtis,

individually and as administrators of the estate of Alexis Marie Sluder, pray

for judgment against Defendants, damages, attorneys’ fees, disbursement,

and any other and further relief as this Court deems just and equitable.


                                    /s/ Sam Harton
                                    One of Plaintiff’s Attorneys

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